                                    Case 2:17-cv-01835-APG-NJK Document 1 Filed 07/05/17 Page 1 of 6



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                           15                          UNITED STATES DISTRICT COURT
                           16                               DISTRICT OF NEVADA
                           17
                           18
                           19     Helen Fein,                                       Case No: 2:17-cv-01835
                           20                     Plaintiff,                        Complaint For Damages Under the
                           21     v.                                                Fair Debt Collection Practices Act,
                                                                                    15 U.S.C. § § 1692 et seq.
                           22     Check City Partnership, LLC,
                           23                                                       Jury Trial Demanded
                                                  Defendant.
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                                COMPLAINT                                      !1
                                     Case 2:17-cv-01835-APG-NJK Document 1 Filed 07/05/17 Page 2 of 6



                            1                                             INTRODUCTION
                            2   1.    Helen Fein (“Plaintiff”), by counsel, brings this action to challenge the actions
                            3         of Check City Partnership, LLC (“Defendant”), with regard to attempts by
                            4         Defendant to unlawfully and abusively collect a debt allegedly owed by
                            5         Plaintiff, causing Plaintiff to suffer damages.
                            6   2.    Plaintiff makes these allegations on information and belief, with the exception
                            7         of those allegations that pertain to Plaintiff, which Plaintiff alleges on
                            8         personal knowledge.
                            9   3.    While many violations are described below with specificity, this Complaint
                           10         alleges violations of the statutes cited in their entirety.
                           11   4.    Unless otherwise stated, all the conduct engaged in by Defendant took place
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                           12         in Nevada.
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                           13   5.    Any violations by Defendant were knowing, willful, and intentional, and
                           14         Defendant did not maintain procedures reasonably adapted to avoid any such
                           15         specific violation.
                           16                                     JURISDICTION AND VENUE
                           17   6.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (federal
                           18         question jurisdiction) and 28 U.S.C. § 1367 (supplemental jurisdiction); see
                           19         Stewart v. Dollar Loan Ctr., LLC, No. 2:13-CV-182 JCM-PAL 2013
                           20         U.S.Dist.LEXIS 71157 (D.Nev. May 17, 2013).
                           21   7.    This action arises out of Defendant's violations of NRS 604A.415 and the
                           22         federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.
                           23   8.    Defendant is subject to personal jurisdiction in Nevada, as it is registered with
                           24         the Nevada Secretary of State as a domestic corporation and conducts
                           25         business in Nevada, and attempted to collect debt from Plaintiff in Nevada.
                           26   9.    Venue is proper pursuant to 28 U.S.C. § 1391 because all of the events giving
                           27         rise to this lawsuit occurred in Clark County, Nevada.
                           28

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                                COMPLAINT                                      !2
                                      Case 2:17-cv-01835-APG-NJK Document 1 Filed 07/05/17 Page 3 of 6



                            1                                                 PARTIES
                            2   10.    Plaintiff is a natural person who resides in Clark County, Nevada.
                            3   11.    Plaintiff is alleged to owe a debt, and is a consumer as that term is defined by
                            4          15 U.S.C. § 1692a(3).
                            5   12.    Upon information and belief, Defendant is, and at all times mentioned herein
                            6          was, a limited-liability company doing business in Nevada, registered with
                            7          the Nevada Secretary of State.
                            8   13.    Upon information and belief, Defendant’s website is http://www.
                            9          checkcity.com.
                           10   14.    According to Defendant’s website, Defendant “offers payday loans, cash
                           11          advances, [and] many other financial services.”
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                           12   15.    Defendant is a corporation organized in the State of Nevada, registered with
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                           13          the Nevada Secretary of State as a corporation and doing business in the State
                           14          of Nevada.
                           15   16.    Defendant uses an instrumentality of interstate commerce or the mails in a
                           16          business the principal purpose of which is the collection of debts, or who
                           17          regularly collects or attempts to collect, directly or indirectly, debts owed or
                           18          due or asserted to be owed or due another and is a debt collector as defined by
                           19          15 U.S.C. § 1692a(6).
                           20                                       FACTUAL ALLEGATIONS
                           21   17.    Sometime before May 12, 2017, John Doe (whose name is unknown),
                           22          incurred certain financial obligations to Defendant (the “debt”).
                           23   18.    Upon information and belief, the debt was a “high interest loan” as defined by
                           24          NRS 604A.0703 because they bore an annual percentage rate of more than 40
                           25          percent.
                           26   19.    At that time, Defendant was a “Licensee” under NRS 604A.075 because it
                           27          was required to have a license to operate its high-interest loan service.
                           28   20.    At no time did Plaintiff owe Defendant any money.

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                                COMPLAINT                                      !3
                                      Case 2:17-cv-01835-APG-NJK Document 1 Filed 07/05/17 Page 4 of 6



                            1   21.    Nevertheless, on May 12, 2017, Defendant began to call Plaintiff’s cellular
                            2          telephone in an attempt to collect the debt.
                            3   22.    Under NRS 604A.415(1), a debt collector “must not violate . . . the federal
                            4          Fair Debt Collection Practices Act, as amended, 15 U.S.C. §§ 1692a to 1692j,
                            5          inclusive, even if the licensee is not otherwise subject to the provisions of that
                            6          Act.”
                            7   23.    Under the FDCPA, a “debt collector may not use unfair or unconscionable
                            8          means to collect or attempt to collect any debt.” 15 U.S.C. § 1692f. The Act
                            9          prohibits “the collection of any amount (including any interest, fee, charge, or
                           10          expense incidental to the principal obligation) unless such amount is
                           11          expressly authorized by the agreement creating the debt or permitted by law.”
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                           12          15 U.S.C. § 1692f(1).
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                           13   24.    Defendant’s conduct violated 15 U.S.C. § 1692f in that Defendant used unfair
                           14          and unconscionable means to collect a debt by repeatedly calling Plaintiff to
                           15          collect debt when Plaintiff did not owe Defendant any money.
                           16   25.    Defendant’s conduct violated 15 U.S.C. § 1692f(l) in that Defendant
                           17          attempted to collect an amount not expressly authorized by the agreement
                           18          creating the debt or permitted by law.
                           19   26.    Defendant’s conduct violated 15 U.S.C. § 1692e(2) in that Defendant falsely
                           20          represented the amount and the legal status of the Debt in the collections letter
                           21          by misleading Plaintiff into believing that she owed the debt.
                           22   27.    Defendant’s conduct violated 15 U.S.C. § 1692e(5) in that Defendant
                           23          threatened to take action against the Plaintiff which could not be legally taken
                           24          in connection with its collection calls to Plaintiff.
                           25   28.    Defendant’s conduct violated 15 U.S.C. § 1692e(10) in that Defendant
                           26          employed various false representations and deceptive means in connection
                           27          with the collections letter in an attempt to collect a debt.
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                                COMPLAINT                                      !4
                                      Case 2:17-cv-01835-APG-NJK Document 1 Filed 07/05/17 Page 5 of 6



                            1   29.    The foregoing acts and omissions of Defendant constitute numerous and
                            2          multiple violations of the FDCPA, including every one of the above cited
                            3          provisions. Defendant thereby violated NRS 604A.415.
                            4   30.    Plaintiff is entitled to damages as a result of Defendant’s violations.
                            5   31.    Plaintiff has suffered mental anguish and emotional distress and has been
                            6          required to retain counsel to protect her legal rights to protect herself against
                            7          Defendant’s collection efforts and to prosecute this cause of action.
                            8                                               COUNT ONE
                            9                                           NRS 604A.415(1)
                           10   32.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
                           11          paragraphs of the Complaint as though fully stated herein.
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                           12   33.    Under NRS 604A.415(1), a debt collector “must not violate . . . the federal
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                           13          Fair Debt Collection Practices Act, as amended, 15 U.S.C. §§ 1692a to 1692j,
                           14          inclusive, even if the licensee is not otherwise subject to the provisions of that
                           15          Act.”
                           16   34.    Defendant’s conduct violated NRS 604A.415(1) because its actions described
                           17          above constituted numerous violations of the FDCPA.
                           18   35.    Plaintiff is entitled to actual and consequential damages under 604A.930(1)
                           19          (a), punitive damages under 604A.930(1)(b), reasonable attorney’s fees and
                           20          costs under 604A.930(1)(c) and any other legal or equitable relief that the
                           21          court deems appropriate under 604A.930(1)(d).
                           22                                         PRAYER FOR RELIEF
                           23           WHEREFORE, Plaintiff prays that judgment be entered against Defendant,
                           24   and Plaintiff be awarded damages from Defendant, as follows:
                           25          •       Actual and consequential damages under 604A.930(1)(a);
                           26          •       Punitive damages under 604A.930(1)(b);
                           27          •       Reasonable attorney’s fees and costs under 604A.930(1)(c); and
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                                COMPLAINT                                      !5
                                      Case 2:17-cv-01835-APG-NJK Document 1 Filed 07/05/17 Page 6 of 6



                            1          •      Any other legal or equitable relief that the court deems appropriate
                            2                 under 604A.930(1)(d)
                            3          •      Any other relief that this Court deems just and proper.
                            4
                            5                                             JURY DEMAND
                            6   36.    Pursuant to the seventh amendment to the Constitution of the United States of
                            7          America, and the Constitution of the State of Nevada, Plaintiff is entitled to,
                            8          and demands, a trial by jury.
                            9
                           10           DATED this 5th day of July 2017.
                           11                                                       Respectfully submitted,
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                           13
                           14                                                       By: /s/ Michael Kind
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                                                                                        Attorneys for Plaintiff
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                                COMPLAINT                                      !6
